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  1   Robert P. Goe – SBN 137019
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  2   17701 Cowan, Suite 210
      Irvine, CA 92614
  3   rgoe@goeforlaw.com
      Telephone: (949) 798-2460
  4   Facsimile: (949) 955-9437
  5   Attorney for M3Live Bar & Grill, Inc.
  6
  7
  8                             UNITED STATES BANKRUPTCY COURT
  9                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 10                                                        Case No. 8:19-bk-10814-TA
 11   In re:
                                                           Chapter 7 Proceeding
 12   M3Live Bar & Grill, Inc.,
                                                           EX PARTE MOTION FOR AN ORDER
 13                        Debtor.                         REOPENING CHAPTER 7 CASE;
                                                           MEMORANDUM OF POINTS AND
 14
                                                           AUTHORITIES; DECLARATION OF
 15                                                        THOMAS S. GRUENBECK AND
                                                           REQUEST FOR JUDICIAL NOTICE IN
 16                                                        SUPPORT THEREOF
 17                                                        [No Hearing Required]
 18
 19
 20            TO THE HONORABLE THEODOR C. ALBERT, UNITED STATES
 21   BANKRUPTCY JUDGE, THE UNITED STATES TRUSTEE AND ALL PARTIES IN
 22   INTEREST:
 23            Debtor M3Live Bar & Grill, Inc. (“Debtor”) applies ex parte for an order reopening the
 24   Debtor’s Chapter 7 bankruptcy case to allow the Court to resolve an issue for which it retained
 25   exclusive jurisdiction related to the Amended Agreement for Purchase and Sale of Assets between
 26   the Chapter 11 Trustee (later Chapter 7 Trustee) Karen Sue Naylor (“Trustee”) and The Grand
 27   Theater, Inc. (“GTI”).
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  1          1.      The Order Granting Motion For Order: (1) Authorizing Sale Of Debtor's Leased
  2   Property Free And Clear Of All Liens; (2) Authorizing Assignment Of The Estate's Interest In An
  3   Unexpired Lease Pursuant To 11 USC 365(f); (3) Authorizing And Approving Sale Overbid
  4   Procedures; (4) Approving The Sale Free And Clear Of Liens And Other Interests Pursuant To 11

  5   USC Section 365(f); (5) Finding Buyer Is A Good Faith Purchaser; And (6) Waiving The 14-Day
  6   Stays Of FRBP 6004 (entered on February 21, 2020 (“Sale Order”) [Docket #218] specifically
  7   provides in paragraph 13 -
  8          “Until this case is closed or dismissed, this Court shall retain exclusive
  9          jurisdiction to (i) enforce and implement the terms and provisions of the Amended
             Purchase Agreement, (ii) compel the parties to the Amended Purchase Agreement
 10          to perform their respective obligations under the Amended Purchase Agreement,
             (iii) resolve any disputes, controversies or claims arising out of or relating to the
 11          Amended Purchase Agreement, or the transactions contemplated thereby, and (iv)
             interpret, implement and enforce the provisions of the Amended Purchase
 12
             Agreement and this Order. Without limiting the generality of the foregoing, the
 13          Trustee, and The Grand Theater, Inc. shall have the right to request, on such
             notice as may be appropriate, any relief and remedies that may be appropriate to
 14          enforce the provisions of this Order, including, without limitation, injunctive
             relief, a contempt citation, sanctions and other damages against any creditor or
 15          other party that may violate the provisions hereof.”
 16          A copy of the Order is attached to the Request for Judicial Notice (“RJN”) as Exhibit 1.
 17          2.      Cyrus Alimadadian (“Alimadadian”) had filed a lien related to a judgment against
 18   Debtor, which Trustee discovered after the Sale Order had been entered, resulting in entry of the
 19   Stipulation to Release Cyrus Alimadadian’s Judgment Lien against M3Live Bar & Grill, Inc.
 20   (“Alimadadian Stipulation”) [Docket #227] that provided for release of the lien against Debtor
 21   and to allow Alimadadian to pursue collection against GTI and Musa Madain. A copy of the
 22   Alimadadian Stipulation is attached to the RJN as Exhibit 2. This stipulation was only entered
 23   and signed by Alimadadian and not by IRA Resources, Inc. The Alimadadian Stipulation was
 24   approved by Order entered March 3, 2020 [Docket #229]. A copy of the Order is attached to the
 25   RJN as Exhibit 3.
 26   ///
 27   ///
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  1          3.      Disputes concerning the Sale Order, Alimadadian Stipulation and Order Thereon
  2   now exist as IRA Resources, Inc. is claiming lien rights against GTI, pursuant to the Alimadadian
  3   Stipulation to which it was not a party.
  4          4.      Pursuant to the Sale Order, this Court has exclusive jurisdiction to resolve this
  5   dispute and uphold the integrity of the bankruptcy system sale process and this Court’s authority.
  6          5.      Local Bankruptcy Rule 5010-1(e) allows a motion to reopen be brought ex
  7   parte. See also In re Abbott, 183 B.R. 198 (B.A.P. 9th Cir. 1995) (“A motion to reopen is
  8   simply a mechanical device which can be brought ex parte and without notice.”); In re
  9   Daniels, 34 B.R. 782, 784 (B.A.P. 9th Cir. 1983) (“[A]n application to reopen may be
 10   made ex parte and without notice.”). Section 350 (11 U.S.C. § 350) of the Bankruptcy
 11   Code addresses closing and reopening bankruptcy cases. Section 350(b) provides that “[a]
 12   case may be reopened in the court in which such case was closed to administer assets, to
 13   accord relief to the debtor, or for other cause.”
 14          Bankruptcy Rule 5010-1, which deals with reopening cases provides that:
 15
             A motion to reopen a closed bankruptcy case must be supported by a declaration
 16          establishing a reason or “cause” to reopen. The motion must not contain a request
             for any other relief.
 17
 18   11 U.S.C. Section 350(b) provides that: “A case may be reopened in the court in which such case

 19   was closed to administer assets, to accord relief to the debtor or for other cause.” (emphasis

 20   added). Accordingly, this Court is empowered to reopen the case based on the express provisions

 21   of the Bankruptcy Rule 5010-1 as well as Bankruptcy Code Section 350 and Section 105.

 22          Here, the case should be reopened to allow for the filing of appropriate proceedings to

 23   uphold the integrity of the Sale Order and resolution of disputed liens.

 24   ///

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  1          Therefore, the Debtor requests to reopen the case but that the Trustee does not need to be
  2   reappointed.
  3   Dated: August 15, 2023                      Respectfully submitted,
  4                                               GOE FORSYTHE & HODGES LLP

  5
                                                  By: /s/Robert P. Goe
  6                                                     Robert P. Goe
  7                                                     Attorneys for Debtor

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  1                          DECLARATION OF THOMAS S. GRUENBECK
  2          I, Thomas S. Gruenbeck, declare as follows:
  3          1.        I make this declaration upon my own personal knowledge except as to those
  4   statements made upon information and belief. I file this declaration in support of Debtor M3Live

  5   Bar & Grill, Inc. (“Debtor”) Ex Parte Motion for an Order Reopening Chapter 7 Case (“Motion”).
  6   I am State Court counsel for Musa Madain (“Madain”) and The Grand Theater, Inc. (“GTI”).
  7          2.        This Court retained exclusive jurisdiction related to the Amended Agreement for
  8   Purchase and Sale of Sale Assets between the Chapter 11 Trustee (later Chapter 7 Trustee) Karen
  9   Sue Naylor (“Trustee”) and GTI as well as the stipulation between Cyrus Alimadadian
 10   (“Alimadadian”), GTI and Madain related to a judgment lien of Alimadadian.

 11          3.        The Order Granting Motion For Order: (1) Authorizing Sale Of Debtor's Leased
 12   Property Free And Clear Of All Liens; (2) Authorizing Assignment Of The Estate's Interest In An
 13   Unexpired Lease Pursuant To 11 USC 365(f); (3) Authorizing And Approving Sale Overbid
 14   Procedures; (4) Approving The Sale Free And Clear Of Liens And Other Interests Pursuant To 11
 15   USC Section 365(f); (5) Finding Buyer Is A Good Faith Purchaser; And (6) Waiving The 14-Day
 16   Stays Of FRBP 6004 (entered on February 21, 2020 (“Sale Order”) [Docket #218] provides in

 17   paragraph 13 -
 18          “Until this case is closed or dismissed, this Court shall retain exclusive jurisdiction to
 19          (i) enforce and implement the terms and provisions of the Amended Purchase
             Agreement, (ii) compel the parties to the Amended Purchase Agreement to perform
 20          their respective obligations under the Amended Purchase Agreement, (iii) resolve any
             disputes, controversies or claims arising out of or relating to the Amended Purchase
 21          Agreement, or the transactions contemplated thereby, and (iv) interpret, implement
             and enforce the provisions of the Amended Purchase Agreement and this Order.
 22
             Without limiting the generality of the foregoing, the Trustee, and The Grand Theater,
 23          Inc. shall have the right to request, on such notice as may be appropriate, any relief
             and remedies that may be appropriate to enforce the provisions of this Order,
 24          including, without limitation, injunctive relief, a contempt citation, sanctions and
             other damages against any creditor or other party that may violate the provisions
 25          hereof.”
 26          A copy of the Order is attached to the Request for Judicial Notice (“RJN”) as Exhibit
 27   1.
 28
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  1          4.      Cyrus Alimadadian (“Alimadadian”) had filed a lien related to a judgment against
  2   Debtor, which Trustee discovered after the Sale Order had been entered, resulting in entry of the
  3   Stipulation to Release Cyrus Alimadadian’s Judgment Lien against M3Live Bar & Grill, Inc.
  4   (“Alimadadian Stipulation”) [Docket #227] that provided for release of the lien against Debtor
  5   and to allow Alimadadian to pursue collection against GTI and Musa Madain. A copy of the
  6   Alimadadian Stipulation is attached to the RJN as Exhibit 2. This stipulation was only entered
  7   and signed by Alimadadian and not by IRA Resources, Inc. The Alimadadian Stipulation was
  8   approved by Order entered March 3, 2020 [Docket #229]. A copy of the Order is attached to the
  9   RJN as Exhibit 3.
 10          5.      Disputes concerning the Sale Order, Alimadadian Stipulation and Order Thereon
 11   now exist as IRA Resources, Inc. is claiming lien rights against GTI, pursuant to the Alimadadian
 12   Stipulation to which it was not a party.
 13          I declare under penalty of perjury, pursuant to the laws of the United States of America
 14   that the foregoing is true and correct to the best of my knowledge, information, and belief, and that
 15                                            14
      this Declaration was executed on August _____, 2023, at Anaheim, California.
 16
                                                    _______________________________________
 17
                                                     Thomas S. Gruenbeck
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  1                                REQUEST FOR JUDICIAL NOTICE
  2          Debtor in the above-captioned proceedings, M3Live Bar & Grill, Inc. respectfully requests
  3   the Court take judicial notice pursuant to Federal Rule of Bankruptcy Procedure 9017,
  4   incorporating by reference Federal Rule of Evidence 201, the following documents in support of

  5   its Ex Parte Motion for an Order Reopening Chapter 7 Case:
  6          1.      A true and correct copy of the Order Granting Motion For Order: (1) Authorizing
  7   Sale Of Debtor's Leased Property Free And Clear Of All Liens; (2) Authorizing Assignment Of
  8   The Estate's Interest In An Unexpired Lease Pursuant To 11 USC 365(f); (3) Authorizing And
  9   Approving Sale Overbid Procedures; (4) Approving The Sale Free And Clear Of Liens And Other
 10   Interests Pursuant To 11 USC Section 365(f); (5) Finding Buyer Is A Good Faith Purchaser; And

 11   (6) Waiving The 14-Day Stays Of FRBP 6004 (entered on February 21, 2020 (“Sale Order”)
 12   [Docket #218] is attached hereto as Exhibit 1.
 13          2.      A true and correct copy of the Stipulation to Release Cyrus Alimadadian Lien
 14   against the M3Live Bar & Grill, Inc. (“Alimadadian Stipulation”) [Docket #227] in exchange for
 15   an agreement that The Grand Theater, Inc. replace M3Live Bar & Grill, Inc. as a Debtor in
 16   addition to Musa Madain remaining a judgment debtor on the Superior Court judgment is attached

 17   hereto as Exhibit 2.
 18          3.      The Alimadadian Stipulation was approved by Order entered March 3, 2020
 19   [Docket #229]. A true and correct copy of the Order is attached hereto as Exhibit 3.
 20
 21   Dated: August 15, 2023                      Respectfully submitted,
 22                                               GOE FORSYTHE & HODGES LLP

 23
                                                  By: /s/Robert P. Goe
 24                                                     Robert P. Goe
 25                                                     Attorneys for Debtor

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                    EXHIBIT 1




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                    EXHIBIT 2




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  1   Robert P. Goe – State Bar No. 137019
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  4   rridles@goeforlaw.com
      Telephone: (949) 798-2460
  5   Facsimile: (949) 955-9437

  6   Attorneys for M3Live Bar & Grill, Inc.

  7

  8                           UNITED STATES BANKRUPTCY COURT

  9             CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 10
 11   In re.:                                            CASE NO. 8:19-bk-10814-TA
 12   M3Live Bar & Grill, Inc.,                          CHAPTER 7

 13             Debtor.                                  STIPULATION TO RELEASE CYRUS
 14                                                      ALIMADADIAN’S JUDGMENT LIEN
                                                         AGAINST DEBTOR M3LIVE BAR &
 15                                                      GRILL, INC.

 16                                                      [No Hearing Required]
 17
                This Stipulation (the “Stipulation”) is entered into by and between M3Live Bar & Grill,
 18
      Inc., Debtor (“Debtor”), Karen Sue Naylor, Chapter 7 Trustee (“Trustee”), Judgment Creditor
 19
      Cyrus Alimadadian (“Alimadadian”), The Grand Theater, Inc. (“GTI”), and Musa Madain
 20
      (“Madain”) (collectively the “Parties”) by and through their counsel of record to release
 21
      Alimadadian’s judgment lien, with reference to the following facts:
 22
                                                   RECITALS
 23
                1.     On March 07, 2019 the Debtor filed for voluntary relief under chapter 11 of
 24
      the Bankruptcy Code.
 25
                2.     On January 26, 2020, an Order Approving the Appointment of the Trustee
 26
      was entered on the docket [Docket No. 180].
 27
                3.     Alimadadian is the holder of a judgment lien (“Judgment Lien”) recorded
 28
      on September 4, 2017 against Debtor and Madain in the amount of $276,015.51.


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                                                                  J'?'¥
           Dated: February                           RJNGSTAD & SANDERS, LLP
      1
      2
                                                                                   �-------
      3                                              By: C::v',
                                                         Todd Ringstad
      4
                                                        Nanette Sanders, attorneys for Chapter 7
      5                                                 Trustee Karen Sue Naylor

      6
           Dated; February 7, 2020                   THE GRAND THEATER, INC.
      7
      8
      9
     10
     11
           Dated: February 7, 2020                   MUSA MADAIN, individually
     12
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     14
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  1                                 PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612
  3
      A true and correct copy of the foregoing document entitled (specify): STIPULATION TO RELEASE
  4   CYRUS ALIMADADIAN’S JUDGMENT LIEN AGAINST DEBTOR M3LIVE BAR & GRILL, INC. will be
      served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
  5   and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On (date) March 3, 2020, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
  8   List to receive NEF transmission at the email addresses stated below:

  9       •   Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
          •   Nancy S Goldenberg nancy.goldenberg@usdoj.gov
 10       •   Joan Huh joan.huh@cdtfa.ca.gov
          •   John C Keith john.keith@doj.ca.gov
 11       •   Gerald S Kim Gerald.beaconlawyer@gmail.com, gsklawoffices@gmail.com
          •   Karen S Naylor (TR) alane@ringstadlaw.com, knaylor@IQ7technology.com
 12       •   Ryan S Riddles rriddles@goeforlaw.com, kmurphy@goeforlaw.com
          •   Todd C. Ringstad becky@ringstadlaw.com, arlene@ringstadlaw.com
 13       •   Nanette D Sanders becky@ringstadlaw.com, arlene@ringstadlaw.com
          •   Matthew N Sirolly msirolly@dir.ca.gov
 14       •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
          •   Ramin R Younessi jflores@younessilaw.com,
 15           dsohn@younessilaw.com;tnoda@younessilaw.com;sgeshgian@younessilaw.com

 16                                                 Service information continued on attached page

 17   2. SERVED BY UNITED STATES MAIL:
      On (date) March 3, 2020, I served the following persons and/or entities at the last known addresses in this
 18   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
      in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
 19   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 20
                                                    Service information continued on attached page
 21
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
 22   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
      March 3, 2020, I served the following persons and/or entities by personal delivery, overnight mail service,
 23   or (for those who consented in writing to such service method), by facsimile transmission and/or email as
      follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
 24   judge will be completed no later than 24 hours after the document is filed.

 25       •   The Honorable Theodor C. Albert, USBC, 411 West Fourth Street, Santa Ana, CA 92701

 26                                                 Service information continued on attached page

      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 27
       March 3, 2020 Susan C. Stein                                     /s/Susan C. Stein
 28    Date                 Printed Name                                Signature


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  1   SERVED BY UNITED STATES MAIL:

  2         Baha Abhari
            23422 Caminito Flecha
  3         Laguna Hills, CA 92653

  4         Affordable POS
            811 Arbolado Dr
  5         Fullerton, CA 92835

  6         Majid Ahmadi
            22361 Birchcrest
  7         Mission Viejo, CA 92692

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            Orange, CA 92868
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            Daniel J Payne
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 11         200 S Anaheim Blvd, Ste 356
            Anaheim, CA 92805
 12
            Carl J Pentis
 13         500 N State College Blvd Ste 1200
            Orange, CA 92868
 14
            Grobstein Teeple LLP
 15         6300 Canoga Avenue Suite 1500W
            Woodland Hills, CA 91367
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                    EXHIBIT 3




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  1    Robert P. Goe – State Bar No. 137019
       Ryan S. Riddles – State Bar No. 298745
  2    GOE FORSYTHE & HODGES LLP
       18101 Von Karman Ave., Ste. 1200                                FILED & ENTERED
  3    Irvine, CA 92612
       rgoe@goeforlaw.com
  4    rridles@goeforlaw.com                                                 MAR 03 2020
       Telephone: (949) 798-2460
  5    Facsimile: (949) 955-9437
                                                                        CLERK U.S. BANKRUPTCY COURT

  6    Attorneys for M3Live Bar & Grill, Inc.                           Central District of California
                                                                        BY steinber DEPUTY CLERK


  7
                         UNITED STATES BANKRUPTCY COURT
  8              CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
  9
 10    In re.:                                             CASE NO. 8:19-bk-10814-TA
       M3Live Bar & Grill, Inc.,                           CHAPTER 7
 11
 12              Debtor.                                   ORDER APPROVING STIPULATION
                                                           TO RELEASE CYRUS
 13                                                        ALIMADADIAN’S JUDGMENT LIEN
                                                           AGAINST DEBTOR M3LIVE BAR &
 14
                                                           GRILL, INC.
 15
                                                           [No Hearing Required]
 16
                 Upon consideration of the Stipulation (the “Stipulation”) entered into by and between
 17
       M3Live Bar & Grill, Inc., Debtor (“Debtor”), Karen Sue Naylor, Chapter 7 Trustee (“Trustee”),
 18
       Judgment Creditor Cyrus Alimadadian (“Alimadadian”), The Grand Theater, Inc. (“GTI”), and
 19
       Musa Madain (“Madain”) (collectively the “Parties”) filed on March 3, 2020 as Docket No. 227,
 20
       and good cause appearing, IT IS ORDERED:
 21
 22              1.     The Stipulation is approved.

 23
      Date: March 3, 2020
 24                                                 ###

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  1                             PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 17701 Cowan, Suite 210, Irvine, CA 92614.
  3
      A true and correct copy of the foregoing document entitled (specify): EX PARTE MOTION FOR AN
  4   ORDER REOPENING CHAPTER 7 CASE; MEMORANDUM OF POINTS AND AUTHORITIES;
      DECLARATION OF THOMAS S. GRUENBECK AND REQUEST FOR JUDICIAL NOTICE IN SUPPORT
  5   THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by
      LBR 5005-2(d); and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) August 15, 2023, I checked the CM/ECF docket for this bankruptcy
  8   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
      List to receive NEF transmission at the email addresses stated below:
  9
 10
                                                            Service information continued on attached page
 11
      2. SERVED BY UNITED STATES MAIL:
 12   On (date) August 15, 2023, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
 13   envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
      here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 14   document is filed.

 15
                                                            Service information continued on attached page
 16

 17   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
      (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
 18   August 15, 2023, I served the following persons and/or entities by personal delivery, overnight mail service,
      or (for those who consented in writing to such service method), by facsimile transmission and/or email as
 19   follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
      judge will be completed no later than 24 hours after the document is filed.
 20
             The Honorable Theodore Albert, USBC, 411 West Fourth Street, Santa Ana, CA 92701
 21
 22   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

       August 15, 2023          Kerry A. Murphy                              /s/Kerry A. Murphy
 23
       Date                     Printed Name                                 Signature
 24
 25
 26
 27
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                                                            8
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                              Main Document    Page 26 of 26

      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  1   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) August 15, 2023, I checked the CM/ECF docket for this bankruptcy
  2   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
      List to receive NEF transmission at the email addresses stated below:
  3
             Richard C Donahoo rcdonahoo@dumas-law.com
  4          Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
             Nancy S Goldenberg nancy.goldenberg@usdoj.gov
  5          Joan Huh joan.huh@cdtfa.ca.gov
             Mario Ashraf Iskander mario@iskanderlaw.com
  6          John C Keith john.keith@doj.ca.gov
             Gerald S Kim Gerald.beaconlawyer@gmail.com, gsklawoffices@gmail.com
  7          Karen S. Naylor Becky@ringstadlaw.com, Karen@ringstadlaw.com;Arlene@ringstadlaw.com
             Karen S Naylor (TR) alane@ringstadlaw.com,
  8           knaylor@IQ7technology.com;ecf.alert+Naylor@titlexi.com
             Ryan S Riddles rriddles@goeforlaw.com, kmurphy@goeforlaw.com
  9          Todd C. Ringstad becky@ringstadlaw.com, arlene@ringstadlaw.com
             Nanette D Sanders becky@ringstadlaw.com, arlene@ringstadlaw.com
 10          Matthew N Sirolly msirolly@dir.ca.gov
             United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 11          Ramin R Younessi jflores@younessilaw.com,
              dsohn@younessilaw.com;tnoda@younessilaw.com;sgeshgian@younessilaw.
 12
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 15   document is filed.

 16     Baha Abhari                                             Affordable POS
        23422 Caminito Flecha                                   811 Arbolado Dr
 17     Laguna Hills, CA 92653                                  Fullerton, CA 92835

 18     Majid Ahmadi                                            California Dept. of Tax and Fee Administration
        22361 Birchcrest                                        Collections Support Bureau, MIC: 55
 19     Mission Viejo, CA 92692                                 PO Box 942879
                                                                Sacramento, CA 94279-0055
 20
        Shari L Friedenrich                                     Grobstein Teeple LLP
        Orange County Treasurer Tax Collector                   6300 Canoga Avenue Suite 1500W
 21     11 Civic Center Plaza RM G58                            Woodland Hills, CA 91367
        PO Box 1438
 22     Santa Ana, CA 92702-1438
 23     Hahn Fife & Co LLP                                      Mark A Nialis
        790 E Colorado BLvd 9th Fl                              Nialis Law Group, APLC
 24     Pasadena, Ca 91101                                      500 North State College Blvd Ste 1200
                                                                Orange, CA 92868
 25
        Daniel J Payne                                          Carl J Pentis
 26     Anaheim City Attorney's Office                          500 N State College Blvd Ste 1200
        200 S Anaheim Blvd, Ste 356                             Orange, CA 92868
 27     Anaheim, CA 92805

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